                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION

 IN RE:
 CAMP LEJEUNE WATER LITIGATION                                   Case No. 7:23-CV-897


 This Document Relates to:
 ALL CASES


            MOTION TO ESTABLISH EVIDENCE DEPOSITORY PROTOCOL

       The Plaintiffs Lead Group (“PLG”) submits this request for the Court to establish a

protocol for the storage of individual plaintiffs’ evidence related to Camp Lejeune Justice Act

(“CLJA”) civil actions. In support of this motion, the PLG shows as follows:

       1.      This CLJA litigation involves events of as long as over seventy (70) years ago, and

relevant evidence includes tangible items, records, and documents existing or stored in a wide

array of physical and virtual media, old and new. While much information exchanged in discovery

and preserved as potential evidence will be in the form of or converted to electronic format, the

conversion of other documents and evidence, currently in tangible form, may be infeasible or

unduly costly and time-consuming.

       2.      Therefore, the PLG believes that there is a need for a single depository

(“Depository”), under the ongoing jurisdiction of this Court, to which the PLG and individual

plaintiffs may produce such evidence for use in this CLJA litigation. Indeed, the Manual for

Complex Litigation, Fourth Edition (Federal Judicial Center 2004) (“MCL”) recognizes the

importance and utility of depositories in these circumstances. MCL Section 11.444




                                                1

            Case 7:23-cv-00897-RJ Document 170 Filed 04/17/24 Page 1 of 4
       3.      For these reasons, the PLG requests that the Court enter an Order governing the

establishment of such a Depository. A proposed Order setting forth a protocol for such a

Depository is attached hereto as Attachment 1.

       4.      The PLG is authorized to report that Defendant United States of America does not

oppose the creation of such a Depository.



                               [Signatures follow on next page]




                                                 2

            Case 7:23-cv-00897-RJ Document 170 Filed 04/17/24 Page 2 of 4
    DATED this 17th day of April, 2024.

/s/ J. Edward Bell, III                             /s/ Zina Bash
J. Edward Bell, III (admitted pro hac vice)         Zina Bash (admitted pro hac vice)
Bell Legal Group, LLC                               Keller Postman LLC
219 Ridge St.                                       111 Congress Avenue, Suite 500
Georgetown, SC 29440                                Austin, TX 78701
Telephone: (843) 546-2408                           Telephone: 956-345-9462
jeb@belllegalgroup.com                              zina.bash@kellerpostman.com

Lead Counsel for Plaintiffs                         Co-Lead Counsel for Plaintiffs and
                                                    Government Liaison Counsel

/s/ Elizabeth J. Cabraser                           /s/ W. Michael Dowling
Elizabeth J. Cabraser (admitted pro hac vice)       W. Michael Dowling (NC Bar No. 42790)
Lieff Cabraser Heimann & Bernstein, LLP             The Dowling Firm PLLC
275 Battery Street, 29th Floor                      Post Office Box 27843
San Francisco, CA 94111                             Raleigh, North Carolina 27611
Telephone: (415) 956-1000                           Telephone: (919) 529-3351
ecabraser@lchb.com                                  mike@dowlingfirm.com

Co-Lead Counsel for Plaintiffs                      Co-Lead Counsel for Plaintiffs

/s/ Robin L. Greenwald                               /s/ James A. Roberts, III
Robin L. Greenwald (admitted pro hac vice)          James A. Roberts, III
Weitz & Luxenberg, P.C.                             Lewis & Roberts, PLLC
700 Broadway                                        3700 Glenwood Ave., Ste. 410
New York, NY 10003                                  Raleigh, NC 27612
Telephone: 212-558-5802                             Telephone: (919) 981-0191
rgreenwald@weitzlux.com                             jar@lewis-roberts.com

Co-Lead Counsel for Plaintiffs                      Co-Lead Counsel for Plaintiffs



/s/ Mona Lisa Wallace
Mona Lisa Wallace (N.C. Bar No.: 009021)
Wallace & Graham, P.A.
525 North Main Street
Salisbury, North Carolina 28144
Tel: 704-633-5244
mwallace@wallacegraham.com

Co-Lead Counsel for Plaintiffs




                                                3

       Case 7:23-cv-00897-RJ Document 170 Filed 04/17/24 Page 3 of 4
                               CERTIFICATE OF SERVICE

       I, J. Edward Bell, III, hereby certify that the foregoing document was electronically filed

on the Court’s CM/ECF system on this date, and that all counsel of record will be served with

notice of the said filing via the CM/ECF system.

       This the 17th day of April, 2024.


                                            /s/ J. Edward Bell, III________________
                                            J. Edward Bell, III




                                                4

         Case 7:23-cv-00897-RJ Document 170 Filed 04/17/24 Page 4 of 4
